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  Hunter Killer Productions, Inc.,
  TBV Productions, LLC,
  Venice PI, LLC,
  Bodyguard Productions, Inc., and
  LHF Productions, Inc.

                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

   Hunter Killer Productions, Inc. et al,      )   Case No.: 1:19-cv-00168-LEK-KJM
                                               )   (Copyright)
                         Plaintiffs,           )
           vs.                                 )   STIPULATED CONSENT
                                               )   JUDGMENT BETWEEN
   Qazi Muhammad Zarlish, et al.               )   PLAINTIFFS AND DEFENDANT
                                               )   QAZI MUHAMMAD ZARLISH
                         Defendants.           )
                                               )

             As attested to by the signatures of Defendant QAZI MUHAMMAD

  ZARLISH and counsel for the Plaintiffs below, this matter comes before the Court

  on the parties’ joint Stipulated Consent Judgment.

             Plaintiffs have filed a Complaint [Doc. #1] alleging that that Defendant QAZI

  MUHAMMAD ZARLISH, among others, is liable for intentional inducement,



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  contributory and direct copyright infringement per 17 U.S.C. §101, et seq., false

  description per 15 U.S.C. §1051, et seq., unfair competition per H.R.S. §480-2 and

  deceptive trade practices per H.R.S. §481A-3 for distributing and promoting the

  movie piracy software application Show Box app from the website

  latestshowboxapp.com and using said Show Box app to reproduce the motion

  pictures The Hitman’s Bodyguard and London Has Fallen.

        The parties, after conferral and investigation, now appear, Defendant QAZI

  MUHAMMAD ZARLISH pro se and Plaintiffs through counsel to fully and finally

  resolve all claims between the parties and the matters before the Court and have

  moved for entry of this Stipulated Consent Judgment.

          WHEREFORE IT IS HEREBY STIPULATED AND ORDERED for all

    matters relevant to this case between the parties as follows:

          1. This Court has jurisdiction over the parties and venue is proper.

          2. Plaintiffs have valid and enforceable copyrights in the original

    copyrighted works as identified in Exhibit “1” of the Complaint [Doc. #1-1].

          3. Defendant QAZI MUHAMMAD ZARLISH acknowledges that he has

    received independent legal advice from counsel or has had the opportunity to seek

    advice from counsel, with respect to the facts and this Stipulated Consent

    Judgment.
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          4.   Defendant QAZI MUHAMMAD ZARLISH admits to describing and

    providing links to the Show Box app as described in paragraphs 23-44 of the

    Complaint and reproducing copies of the motion pictures The Hitman’s

    Bodyguard and London Has Fallen as alleged in paragraph 206 of the Complaint.

          5. Defendant QAZI MUHAMMAD ZARLISH states that: (i) he obtained

    the Show Box app apk file he placed on his website to be available for

    downloading from the website showbox.fun; and (ii) he believed the Show Box

    app was a legitimate application similar to Netflix and Amazon Prime Video

    based upon the descriptions of Show Box app at the websites showbox.fun and

    show-box.pro.

          6. Pursuant to stipulation of the parties, the below Money Judgment,

    Permanent Injunction and Order is to be entered against Defendant QAZI

    MUHAMMAD ZARLISH.

                               MONEY JUDGMENT

          A Money Judgment is awarded in favor of Plaintiffs Hunter Killer

    Productions, Inc., TBV Productions, LLC, Venice PI, LLC, Bodyguard

    Productions, Inc., and LHF Productions, Inc against Defendant QAZI

    MUHAMMAD ZARLISH in the amount of $150,000 (one hundred fifty

    thousand dollars) for costs, fees and damages.
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                           PERMANENT INJUNCTION

        Defendant QAZI MUHAMMAD ZARLISH is hereby PERMANENTLY

  ENJOINED from directly, contributorily or indirectly infringing Plaintiffs’ rights

  in their motion pictures, including without limitation by using the Internet to

  reproduce or copy any of Plaintiffs’ motion pictures, except pursuant to a lawful

  written license from Plaintiffs;

        Defendant QAZI MUHAMMAD ZARLISH is hereby PERMANENTLY

  ENJOINED from promoting and or distributing movie piracy applications

  including but not limited to the Show Box app, Popcorn Time, CotoMovies (Bobby

  Movie Box), MediaBox HD (The Movie DB), Cinemabox, Moviebox, Terrarrium,

  Mobdro and software applications affiliated with following piracy sources: YIFY;

  YTS; RARBG; TORRENTZ2; NYAA.SI; LIMETORRENTS; ZOOQLE; EZTV;

  and TORRENTDOWNLOADS.

        This Court will retain jurisdiction until August 21, 2025 for the purposes of

  enforcing the Money Judgement, Permanent Injunction and Order.

        Except as provided herein, each party is to bear their own costs and fees.

  With entry of this Consent Judgment, this matter is terminated with respect to

  Defendant QAZI MUHAMMAD ZARLISH.
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  APPROVED AND SO ORDERED, this day: August 26, 2019.




  So Stipulated and Respectfully Submitted:



  On Behalf of Plaintiffs                     Defendant



  /s/Kerry S. Culpepper_8/21/2019___          _/s/ Zarlish 8/23/2019
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